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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                         :
In re:                                                   : Chapter 11
                                                         :
EMAS CHIYODA SUBSEA LIMITED, et                          : Case No. 17-31146 (MI)
al.,                                                     :
                                                         : (Jointly Administered)
                 Debtors.1                               :

                   MOTION FOR ORDER DISMISSING THE CHAPTER 11
                    CASES OF THE NON-REORGANIZING DEBTORS

         THIS MOTION SEEKS ENTRY OF AN ORDER THAT MAY
         ADVERSELY AFFECT YOU. IF YOU OPPOSE THE MOTION, YOU
         SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO
         RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY
         CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY
         TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR
         RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON
         YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD
         NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE,
         THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO
         YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
         AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE
         PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER
         EVIDENCE AT THE HEARING AND MAY DECIDE THE MOTION AT
         THE HEARING.
         A HEARING WILL BE CONDUCTED ON THIS MATTER ON
         SEPTEMBER 13, 2017 AT 1:30 P.M. IN COURTROOM 404, UNITED


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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number
    and jurisdiction of formation are as follows: EMAS CHIYODA Subsea Limited (UK) (3187); EMAS Chiyoda
    Subsea Inc. (Delaware) (7884); EMAS CHIYODA Subsea Marine Base LLC (Texas) (5974); Lewek Falcon
    Shipping Pte. Ltd. (Singapore) (041E); EMAS CHIYODA Marine Base Holding Co., LLC (Texas) (7463);
    EMAS Chiyoda Subsea Services Pte. Ltd. (Singapore) (333Z); EMAS-AMC Pte. Ltd. (Singapore) (0442);
    EMAS Saudi Arabia Ltd. (Saudi Arabia) (0669); Lewek Constellation Pte. Ltd. (Singapore) (376E); EMAS
    CHIYODA ROV Pte. Ltd. (Singapore) (049M); EMAS CHIYODA Subsea Services B.V. (Netherlands) (4073);
    EMAS CHIYODA Subsea Services (UK) Limited (Scotland) (3187); EMAS CHIYODA Subsea Services LLC
    (Delaware) (1728); EMAS CHIYODA Subsea (Thailand) Co., Ltd. (Thailand) (1011); Gallatin Marine
    Management, LLC (Delaware) (8989). The address of the Debtors’ U.S. headquarters is 825 Town & Country
    Ln, Suite 1500, Houston, TX 77024.




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        STATES BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT OF
        TEXAS, 515 RUSK STREET, HOUSTON, TEXAS 77002.
        REPRESENTED              PARTIES         SHOULD          ACT       THROUGH            THEIR
        ATTORNEYS.

        The Non-Reorganizing Debtors2 hereby move (the “Motion”) this Court for entry of an

order substantially in the form attached hereto (the “Order”) dismissing their Chapter 11 Cases.3

In support of the Motion, the Non-Reorganizing Debtors, by and through their undersigned

counsel, respectfully represent as follows:

                                   PRELIMINARY STATEMENT

        1.       On June 29, 2017, this Court confirmed the Plan proposed by certain of the

Debtors that provides for the restructuring of the Emerging Debtors and the Liquidating Debtors.

That Plan went effective the same day it was confirmed.

        2.       The Non-Reorganizing Debtors are not dealt with under the Plan.                       As the

Disclosure Statement previewed would likely be the case, this Motion seeks dismissal of the

Non-Reorganizing Debtors’ cases. There is cause to dismiss these cases due to the lack of value

of these entities, the fact that the Plan Sponsors have decided not to purchase these entities or

their assets, and because the Non-Reorganizing Debtors have limited, if any, assets to reorganize

or liquidate.




2
    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Modified Third
    Amended Joint Chapter 11 Plan of Reorganization of Certain Affiliated Debtors of EMAS CHIYODA Subsea
    Limited [Docket No. 573] (the “Plan”).
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    The Non-Reorganizing Debtors are EMAS CHIYODA Subsea Limited (“ECS”), EMAS CHIYODA Subsea
    Services, B.V. (“Subsea Services BV”), EMAS CHIYODA Subsea Marine Base Holding Co., LLC (“Marine
    Base Holdco”), EMAS CHIYODA Subsea Services (UK) Limited (“Subsea Services UK”), EMAS CHIYODA
    Subsea Services LLC (“Subsea Services LLC”), Gallatin Marine Management, LLC (“Gallatin Marine”),
    EMAS CHYODA ROV Pte Ltd. (“EMAS ROV”), and EMAS CHIYODA Subsea (Thailand) Co., Ltd.
    (“EMAS Thailand”).


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                                 JURISDICTION AND VENUE

        3.       This Court has jurisdiction to consider this Motion under 28 U.S.C. § 1334. This

is a core proceeding under 28 U.S.C. § 157(b). Venue of these cases and this Motion in this

District is proper under 28 U.S.C. §§ 1408 and 1409.

        4.       The legal predicates for the relief requested herein are Bankruptcy Code section

105(a) and 1112(b), and Bankruptcy Rule 1017.

                                        BACKGROUND

        5.       On February 27, 2017 (the “Petition Date”), the Debtors each commenced a case

by filing a petition for relief under chapter 11 of the Bankruptcy Code (collectively, the “Chapter

11 Cases”). The Chapter 11 Cases are being jointly administered.

        6.       The Non-Reorganizing Debtors continue to operate their businesses and manage

their properties as debtors and debtors in possession pursuant to Bankruptcy Code sections

1107(a) and 1108.

        7.       On March 21, 2017, the Office of the United States Trustee for the Southern

District of Texas (the “United States Trustee”) appointed an official committee of unsecured

creditors (the “Creditors’ Committee”). No trustee or examiner has been appointed in the

Chapter 11 Cases.

        8.       On May 22, 2017, the Debtors filed their monthly operating report for April 2017

[Docket No. 416] (the “April MOR”). On June 20, 2017, the Debtors filed their monthly

operating report for May 2017 [Docket No 511] (the “May MOR”).

        9.       On May 24, 2017, the Plan Debtors filed their third amended proposed Plan and

the Third Amended Disclosure Statement with Respect to the Joint Chapter 11 Plan of

Reorganization of Certain Affiliated Debtors of EMAS CHIYODA Subsea Limited [Docket No.


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447] (as may be further amended, modified, or supplemented, the “Disclosure Statement”). On

May 25, 2017, the Court entered an order approving the adequacy of the Disclosure Statement

[Docket No. 455].

        10.      On June 29, 2017, the Court entered its Findings of Fact, Conclusions of Law, and

Order Confirming the Modified Third Amended Joint Chapter 11 Plan of Reorganization of

Certain Affiliated Debtors of EMAS CHIYODA Subsea Limited [Docket No. 579]. On that

same day, the Plan was substantially consummated as to all of the Plan Debtors other than the

Constellation Debtor and the Falcon Debtor (the “Effective Date”).

        11.      The Plan provides for the reorganization of the Emerging Debtors, and the

liquidation of the Liquidating Debtors under chapter 11 of the Bankruptcy Code. The Non-

Reorganizing Debtors are not dealt with under the Plan.

                                      RELIEF REQUESTED

        12.      By this Motion, the Debtors respectfully request the entry of the Order dismissing

the cases of the Non-Reorganizing Debtors so that those entities can be wound down under

applicable local law in the various local and foreign jurisdictions in which they are organized.

                                  APPLICABLE AUTHORITY

        13.      Bankruptcy Code section 1112(b) provides that, “on request of a party in interest,

and after notice and a hearing, the court shall convert a case under this chapter to a case under

chapter 7 or dismiss a case under this chapter, whichever is in the best interests of creditors and

the estate, for cause unless the court determines that the appointment under section 1104(a) of a

trustee or an examiner is in the best interests of creditors and the estate.”




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        14.      Bankruptcy Code 1112(b)(4) provides a non-exclusive list of what constitutes

“cause.” This list includes “a substantial or continuing loss to or diminution of the estate and

that absence of a reasonable likelihood of rehabilitation.” 11 U.S.C. 1112(b)(4)(a)

        15.      This Court previously has held that, in order to demonstrate “cause” for

conversion or dismissal under section 1112(b)(4)(a), a party must show (i) either substantial or

continuing diminution of the estate and (ii) absence of a reasonable likelihood of rehabilitation.

See In re TMT Procurement Corp., 534 B.R. 912, 917–18 (Bankr. S.D. Tex. 2015)(“[n]egative

cash flow alone can be sufficient cause to dismiss or convert.” Id. at 918 (quoting In re Miell,

419 B.R. 357, 366 (Bankr. N.D. Iowa 2009))).

        16.      Ultimately, “[t]he inquiry under Section 1112 is case-specific, focusing on the

circumstances of each debtor…[and e]ach debtor’s viability and prospects must be evaluated ‘in

light of the best interest of creditors and the estate.’” TMT Procurement, 534 B.R. at 917

(quoting United Savs. Ass’n of Tex v. Timbers of Inwood Forrest Assocs., Ltd. 808 F.2d 363,

371–72 (5th Cir. 1987)).

                                      BASIS FOR RELIEF


I.      CAUSE EXISTS TO DISMISS THE CASES OF THE NON-REORGANIZING
        DEBTORS

        A.       There is Continuing Diminution of the Estates of the Non-Reorganizing
                 Debtors.

        17.      Cause exists under Bankruptcy Code section 1112(b)(4)(a) to dismiss the Chapter

11 Cases of the Non-Reorganizing Debtors because there is continuing diminution of the estates

of the Non-Reorganizing Debtors. In particular, each of the eight Non-Reorganizing Debtors




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reported net losses or no income from operations in the April MOR and the May MOR.4 As

such, there has been continuing diminution in the value of the estates during the pendency of the

Chapter 11 Cases.

        B.       The Non-Reorganizing Debtors Have No Reasonable Likelihood of
                 Rehabilitation.

        18.      The Non-Reorganizing Debtors have no reasonable likelihood of rehabilitation.

Marine Base Holdco, ECS, EMAS ROV, Subsea Services LLC, and Subsea Services UK were

all established as holding companies, or special purpose vehicles designed to hold title to certain

assets, with little or no operations. Moreover, while Subsea Services B.V., Gallatin Marine, and

EMAS Thailand all conducted operations at one point, these operations have ceased, as the

functions they served in the Debtors’ business operations are no longer necessary. As such, the

Debtors, in consultation with the Plan Sponsors, determined that the Non-Reorganizing Debtors

would not be part of the go-forward business and were not included in the Plan.

        19.      As of the Effective Date, the Non-Reorganizing Debtors no longer have access to

any financing to fund expenses nor any ability or funds to confirm a plan.

        20.      According to the May MOR, the overwhelming majority of assets of the Non-

Reorganizing Debtors were either investments in subsidiaries, amounts due from affiliates, or

capitalized expenditures with no realizable value. Other assets, such as small amounts of cash,

can be liquidated for potential creditor recovery outside of the Chapter 11 Cases in a proceeding

in the entity’s home jurisdiction.




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    Marine Base Holdco and Gallatin Marine reported neither operating income nor operating losses in the April
    MOR and the May MOR.


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II.     DISMISSAL IS IN THE BEST INTERESTS OF THE NON-REORGANIZING
        DEBTORS’ ESTATES

        21.      The Debtors have determined that the Chapter 11 Cases of the Non-Reorganizing

Debtors can be wound down most efficiently and cost-effectively in the jurisdictions in which

the Non-Reorganizing Debtors are headquartered and/or organized.           Marine Base Holdco,

Subsea Services LLC, and Gallatin Marine can be effectively wound down under state law

proceedings.

        22.      Moreover, the Debtors have consulted both the Creditors’ Committee and the Plan

Sponsors in conjunction with this Motion and they consent to the relief requested herein. Thus,

for the above-stated reasons, it is in the best interests of the Non-Reorganizing Debtors’ estates

to dismiss the Chapter 11 Cases of the Non-Reorganizing Debtors.

                                            NOTICE

        23.      Notice of this Motion shall be given to (a) the United States Trustee; (b) Akin

Gump, counsel to the Creditors’ Committee; (c) White & Case LLP, counsel to Chiyoda

Corporation and Freshfields Bruckhaus Deringer LLP, counsel to Subsea 7 S.A., in their capacity

as lenders under the proposed postpetition credit agreement and as Plan Sponsors; (d) the lenders

under the Debtors’ prepetition loan facilities; (e) the United States Attorney’s Office for the

Southern District of Texas; (f) the Internal Revenue Service; and (g) any party that has requested

notice pursuant to Bankruptcy Rule 2002 as of the time of service. Due to the nature of the relief

requested herein, the Debtors submit that no other or further notice need be provided.

                                     NO PRIOR REQUEST

        24.      No previous request for the relief sought herein has been made to this Court or

any other court.



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                                         CONCLUSION

                 WHEREFORE, the Debtors respectfully request that this Court enter an order,

substantially in the form annexed hereto, granting the relief sought herein and granting such

other and further relief as may be just and proper.

Dated: Houston, Texas
       July 27, 2017
                                       PORTER HEDGES LLP

                                       By:     Aaron J. Power
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                                              -and-

                                       SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
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                                      Counsel for Debtors and Non-Reorganizing Debtors




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                                     Certificate of Service

        I certify that on July 27, 2017, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System in the United States Bankruptcy Court for the Southern
District of Texas.


                                                    /s/ Aaron J. Power
                                                    Aaron J. Power




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